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ANDRE BIROTTE JR.

United States Attorneyv

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Chief, Criminal Division

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Attorneys for Plaintiff

UNITED STATES OF AMERICA

UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, NO. CR ll-762~PSG

GOVERNMENT’S RESPONSE TO PRE-
M_BB_E_QL

Plaintiff,
V.
JANETH BREWER,

Defendant.

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Plaintiff United States of America, by and through its

counsel of record, hereby submits its Response to the Pre-

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Sentence Report of the United States Probation Office in the
above-entitled matter.
January 30, 2012 Respectfully submitted,

ANDRE BIROTTE JR.
United States Attorney

ROBERT E. DUGDALE
Assistant United States Attorney
Chief, Criminal Division

/S/
PAUL G. STERN
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GOVERNMENT’S RESPONSE TO PRESENTENCE REPORT
The government Concurs With the factual findings and
guidelines analysis set forth in the Pre~Sentence Report
prepared by the United States Probation Office for defendant

Janeth Brewer.

 

 

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CERT|F|CATE OF SERV|CE

|, YEN| GO|V|EZ, declare:

That l am a citizen of the United States and resident or employed in Los Angeles
County, Ca|ifornia; that my business address is the Office of United States Attorney,
United States Courthouse, 312 North Spring Street, Los Angeles, Callfornia 90012; that |
am over the age of eighteen years, and am not a party to the above~entitled action;

That | am employed by the United States Attorney for the Central District of California
Who is a member of the Bar of the United States District Court for the Centra| District of
California, at Whose direction l served a copy of: GOVERNMENT’S RESPONSE TO

PRE-SENTENCE REPORT

service was:

[X] Placed in a closed [ ] Placed in a sealed
envelope, for collection envelope for collection and
and interoffice delivery mailing via United States l\/|ail,
addressed as follows: addressed as follows:
[ ] By hand delivery [ ] By facsimile as follows:
addressed as follows:
[ ] By email as follows: [ ] By federal express as follows:
Maytee Zendejas
U.S. Probation ()ffice
312 N. Spring St.
7th Floor
Los Angeles, CA 90012

This Certificate is executed on January 30, 2012 at Los Angeles, California.
l certify under penalty of perjury that the foregoing is true and correct

/%11 /ZW

%ENl WEZ

 

 

